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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF MISSISSIPPI
                                    GREENVILLE DIVISION


 BRENDA J. COOPER, et al.,
                                                   Judge Debra M. Brown
                                                   Magistrate Judge Jane M. Virden
                        Plaintiffs,
                                                   Lead Case No. 4:16-cv-52
 v.
                                                   Consolidated with:
 MERITOR, INC.,
                                                     Sledge v. Meritor, Inc., No. 4:16-cv-53
 ROCKWELL AUTOMATION, INC.,
                                                     Cooke v. Meritor, Inc., No. 4:16-cv-54
 THE BOEING COMPANY, and
                                                     SRA Invests., LLC v. Meritor, Inc., No. 4:16-cv-55
 TEXTRON, INC.,
                                                     Willis v. Meritor, Inc., No. 4:16-cv-56
                        Defendants.


                  PLAINTIFFS’ RESPONSE TO TEXTRON’S STATEMENT OF
                   UNDISPUTED MATERIAL FACTS IN SUPPORT OF MOTION
                                FOR SUMMARY JUDGMENT

         Plaintiffs object to Textron’s Statement of Undisputed Material Facts filed in support of its

Motion for Summary Judgment (Dkt. No. 591) for failure to identify which “facts” are “material” to its

motion, and why. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)(a fact is only

“material” if it “might affect the outcome of the suit under the governing law.”) Rather than providing

only material facts, Textron offers 81 statements of varying sorts, some of which are have little to

nothing to do with either the basis of its motion or the issues genuinely in dispute, and others of which

are intentionally incomplete, misleading, or concern matters that are openly contested between the

parties. Plaintiffs further object to Textron’s attempts to assert as undisputed material facts the content

of cherry-picked snippets of testimony where there exists other contradictory testimony and evidence of

which Textron is fully aware. Textron’s failure to acknowledge such adverse evidence and testimony,

particularly in the context of a submission of “undisputed” facts in support of a motion for summary

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judgment, is inappropriate and creates a needless burden on the Plaintiffs, in drafting, and the Court, in

considering, many of these responses. Subject to these objections, Plaintiffs respond to Textron’s

proffered statements as follows:


I.       Rockwell’s Ownership and Operation of the Facility

      1. The Grenada Stamping and Assembly Facility (the “Facility”) is bordered to the north by the
         Eastern Heights residential neighborhood, to the east and south by vacant land, and to the west
         by Riverdale Creek and agricultural land. Ex. 1 (1997 VSI Report at I-1).

         RESPONSE: Plaintiffs dispute this statement and assert that it mispresents the 1997
         Visual Site Inspection Report performed by A.T. Kearney, Inc., which actually reads:

         “The Randall Textron facility is located on Route 332 East, approximately 0.75 miles
         north of Grenada, Mississippi. It is separated from the town of Grenada by the
         Yalobusha River and adjacent swamps. The site is actually bisected by Route 332.
         The main plant area is located southeast of the road. The facility Wastewater
         Treatment Plant (SWMU 13), Sludge Lagoon (SWMU 4), inactive On-Site Landfill
         (SWMU 3) and a baseball field are located northwest of the road. The plant property
         includes 48.6 acres bordered by the Illinois Central Gulf Railroad to the north and
         east, a swampy area to the south, an abandoned road bed to the west, and Riverdale
         Creek to the northwest. Surrounding land use is mixed residential, agricultural and
         industrial.”

        See 1997 VSI Report at I-1 (Dkt. Nos. 601 and 601-1).

      2. Rockwell International (“Rockwell”) owned and operated the Facility from 1965 through July 1,
         1985. Id.; Ex. 2 (D. O’Connor Dep. Tr. at 26:7-27:1; 28:6-8).

         RESPONSE: Plaintiffs agree that from November 1965 until July 1, 1985, the Facility
         was owned by Rockwell International or another affiliated Rockwell entity. There were,
         however, several ownership changes as a consequence of spin-offs, mergers and
         acquisitions during that time, such that Rockwell International was not the owner of the
         Facility for the entire period. See Stipulation of Undisputed Facts (Filed by Plaintiffs and
         Meritor re: Meritor’s Corporate History)(Dkt. No. 445).

      3. Rockwell used trichloroethylene (“TCE”) and toluene in the Facility operations. Ex. 1 (VSI
         Report at II-12-13); Ex. 2 (D. O’Connor Dep. Tr. 56:12-56:12-57:7).

         RESPONSE: Plaintiffs do not dispute that the Rockwell-affiliated entities that owned the
         Facility during this period used TCE and Toluene in the operation of the Facility.




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      4. Buffing compound waste was generated from the buffing machines used to polish the wheel
         covers (hub caps) manufactured by the Facility. Ex. 1 (VSI Report at II-12).

          RESPONSE: Not disputed by Plaintiffs as stated, but Plaintiffs would clarify that the
          waste created by the buffing machines was contaminated, prior to 1967, by TCE from
          vapor degreasers, and thereafter, by TCE from maintenance uses, that was dumped into
          the buff basement, such that the buffing compound waste that was hauled from the plant
          and dumped on a daily basis contained concentrations of TCE. See Deposition of Phillip
          Backlund, begun 3/13/1996 (“1996 Backlund Dep.”), Excerpts at Exhibit 1, pp. 658-59;
          Deposition of Sayles Martin, begun 6/22/1995 (‘1995 Martin Dep.”), Excerpts at Exhibit
          2, p. 55.

      5. Meritor’s Fed. R. Civ. P. 30(b)(6) witness, David O’Connor, testified that Rockwell used
         TCE in manufacturing operations from 1965 to 1985. Ex. 2 (D. O’Connor Dep. Tr. 56:12-
         56:12-57:7).
          RESPONSE: Plaintiffs do not dispute that Rockwell-affiliated entities used TCE in
          manufacturing operations from 1965 to 1985, nor that David O’Connor testified to such
          usage.

II.      On-Site Waste Disposal and Moose Lodge Road Disposal Area

      6. The Mississippi Department of Environmental Quality (“MDEQ”) submitted a fact sheet
         describing the Moose Lodge Road Disposal Site as follows: “The Moose Lodge Road Disposal
         Site was first brought to the attention of MDEQ in 1993. According to company records, the
         Facility used the site to dispose of a buffing compound containing chlorinated solvents used to
         polish the wheel covers produced in the stamping operation in the 1960s.” Ex. 3 (Jan. 2016
         MDEQ Fact Sheet: Moose Lodge Road Disposal Site and Moose Lodge Road Area at 1).

         RESPONSE: Plaintiffs do not dispute that the MDEQ document cited by Textron reads
         as quoted, but do dispute the accuracy of the factual information contained therein.
         Plaintiffs assert that the evidence in this case shows that Rockwell dumped not only
         buffing sludge, but also paint sludges, barium/chrome plating sludges, still bottoms and
         other plant wastes at various locations along Moose Lodge Road during the 1966-1968
         time period, and that these materials contained chlorinated solvents, chromium and
         other toxic chemicals from the Facility. These were the types of waste that were typically
         dumped by Rockwell on a daily basis, and the testimony provided by witnesses involved
         in directing and performing the dumping at Moose Lodge Road and elsewhere indicates
         that the same wastes were disposed of at the Moose Lodge Road dumpsites as had been
         disposed of at the on-site landfill` and which were later disposed of at the 16 th Section
         dump. See following evidence:

              •   1995 Martin Dep., pp. 27-30, 43-48, 81-83, Exhibit 2;
              •   Deposition of John Ashley, begun 5/31/1995 (“1995 Ashley Dep.”), pp. 40-48, 82,
                  159, 393, Excerpts at Exhibit 3;
              •   1996 Backlund Dep., pp. 681-682, Exhibit 1;
              •   Deposition of David O’Connor, 4/4/2018 (“O’Connor Dep.”), p. 93-94, Excerpts
                  at Exhibit 4.

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         •   Deposition of Jerry Williams, 10/24/2017 (“J. Williams Dep.”), pp. 8-12, Excerpts
             at Exhibit 5;
         •   Theo Berry, Statement Under Oath; 2/20/2015 (“Berry SUO”), pp. 6, 10, 13,
             Excerpts at Exhibit 6;

 7. O’Connor testified that after Rockwell took over the plant in 1965, “it was stockpiling its waste
    on what we call the onsite landfill” through 1966. Ex. 2 (D. O’Connor Dep. Tr. 168:1- 21).

     RESPONSE: Plaintiffs do not that Mr. O’Connor testified as stated, but do dispute the
     factual accuracy of his testimony. The evidence in this case shows that the materials in
     the on-site landfill were not “stockpiled” in the sense that they were being kept there for
     later transportation to another location, but rather that the Facility’s waste was dumped
     there with the intent and effect that it remain there permanently. In addition to the
     testimony of numerous witnesses who examined the onsite landfill in the 1980s and 1990s,
     Plaintiffs’ position is supported by the following environmental studies that establish
     beyond argument that plant waste was located in the onsite landfill more than two
     decades after 1966:

        •    Dkt. No. 601 and 601-1 -- RCRA Facility Assessment of Randall Textron, Visual
             Site Inspection Report;
        •    Dkt. No. 597-13, NUS Corporation, Final Screening Site Inspection;
        •    Dkt Nos. 601-3, 601-4, 601-5 and 601-6, Eckenfelder Draft Remedial Investigation
             Report, Randall Textron Plant Site;

 8. O’Connor testified that after 1966, “the plant staged the same materials at the buff compound
    disposal area off Moose Lodge Road at one specific location.” Id. 168:1-21.

     RESPONSE: Plaintiffs do not dispute that Mr. O’Connor testified as stated, but do
     dispute the factual accuracy of his testimony. The evidence in this case shows that the
     materials dumped along Moose Lodge Road were not “staged” in the sense that Rockwell
     intended to move them to another location, but were rather disposed of with the intent
     that they remain in the location where they were dumped permanently. Further, the
     evidence, both testimonial and scientific, shows that plant waste was disposed in multiple
     locations along Moose Lodge Road, not just in the area Rockwell now refers to as the
     “Buff Compound Disposal Area.” For example, Jerry Williams, an employee that hauled
     waste from the Plant, testified that he dumped facility waste north of the Buff Compound
     Disposal Area on the east side of Moose Lodge Road. Meritor’s environmental
     consultants working in the Moose Lodge Road Area identified areas of high
     concentrations of TCE contamination north of the Buff Compound Disposal Area, and
     Meritor has engaged in more than two and a half decades of active remediation efforts in
     those areas as the responsible party pursuant to agreed orders reached with the
     Mississippi Department of Environmental Quality. Tens of thousands of pages of
     regulatory filings made by Meritor exist related to this work. Even omitting the bulk of
     those materials for purposes of economy, Plaintiffs’ positions are amply supported for
     the purposes of establishing disputed issues of fact by the following evidence:

        •    J. Williams Dep., pp. 29-30, 52-54, Exhibit 5;
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        •   2014 Environmental Power Point Presentation by David O’Connor, Exhibit 7;
        •   October 25, 2011 Email from Matthew Dagon (Stantec) to David O’Connor
            (Meritor) containing history of Moose Lodge Road remediation, Exhibit 8.

 9. O’Connor testified that Rockwell disposed of “still bottoms, paint wastes” and “buff
    compound” “first at the on-site landfill, next for a short period of time in the buff compound
    disposal area, and then finally at the 16th Section landfill.” Id. 92:24-94:2.

    RESPONSE: Plaintiffs do not dispute that Mr. O’Connor testified as stated, but do
    dispute the factual accuracy of his testimony to the extent it suggests that only still
    bottoms, paint wastes and buff compound was dumped at Moose Lodge Road and that
    waste from the Facility was only dumped in the Buff Compound Disposal Area. The
    evidence in this case shows that other wastes, including chromium sludge, TCE sludge
    from the vapor degreasers in the press, buff and butler departments, and general plant
    refuse was disposed of by dumping during this period, including at Moose Lodge Road,
    and that dumping took place in multiple locations along Moose Lodge Road, most
    significantly at a location to the east of Moose Lodge Road and well to the North and
    East of the Buff Compound Disposal Area. High concentrations of TCE have been
    detected in the groundwater in this area, which was identified by Jerry Williams during
    his deposition, and Meritor has engaged in repeated permanganate injection remediation
    efforts during the past decades in the same area at the direction of the Mississippi
    Department of Environmental Quality. Further, the dumping location identified by Mr.
    Williams coincides with a point of origin for one of the TCE groundwater plumes
    affecting the Eastern Heights neighborhood, as shown on plume depictions drawn by
    Meritor’s consultants. See Evidence cited in response to Item 8, supra.

10. T&M Associates submitted a Moose Lodge Road Area Investigation Report to the MDEQ,
    which stated: “The BCDA [Buffing Compound Disposal Area] reportedly was used by the the
    facility for disposal of an unknown quantity of buffing compound between 1966 and 1967.” Ex.
    4 (MTOR-00-0000003 at 11).

    RESPONSE: Plaintiffs do not dispute that T&M Associates report reads as stated, but
    do dispute the factual accuracy of the statements in that report on the same grounds
    noted for Items 6 though 9, supra.

11. Textron did not dispose of waste along Moose Lodge Road, and all disposal of waste in the
    Moose Lodge Road Area happened before Textron acquired the plant. Ex. 5 (G. Simpson Dep.
    Tr. at 119:23-120:8); Ex. 6 (All Plaintiffs’ Responses to RFA Nos. 8-10).

    RESPONSE: Not disputed by Plaintiffs.

12. Plaintiffs “have no evidence of Textron employees hauling away paint sludge from the Grenada
    Manufacturing [F]acility at any time from 1985 to 1999.” Ex. 6 (All Plaintiffs’ Responses to
    RFA No. 8).

    RESPONSE: Not disputed by Plaintiffs.

13. Plaintiffs “have no evidence of Textron employees hauling away materials from the Grenada
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       Manufacturing Facility’s TCE recovery stills at any time from 1985 to 1999.” Id. at RFA No. 9.

        RESPONSE: Not disputed by Plaintiffs.

   14. Plaintiffs “have no evidence of Textron employees hauling away buffing compound waste from
       the Grenada Manufacturing Facility at any time from 1985 to 1999.” Id. at RFA No. 10.

        RESPONSE: Not disputed by Plaintiffs.

III.   Rockwell’s Storage of TCE and Toluene

   15. In the late 1970s, thousands of gallons of TCE leaked into the ground from storage and/or piping
       at the Facility. See e.g., Ex. 7 (ICE-019002); Ex. 8 (S. Martin 2017 Dep. Tr. 65:11- 22); Ex. 5
       (G. Simpson Dep. Tr. 98:20-99:6).

        RESPONSE: Not disputed by Plaintiffs.

   16. Rockwell stored toluene in a 2,000-gallon underground storage tank located near the southeast
       corner of the main manufacturing building. Ex. 9 (T&M Annual Monitoring Report for 2014 at
       1-6).

        RESPONSE: Disputed. Plaintiffs assert that the underground toluene storage tank was
        located near the northeast corner of the main manufacturing building and had a volume
        of 2500 gallons. Plaintiffs’ position is supported by the following evidence:

                  •   TEX_MDEQ_082651, Eckenfelder Solid Waste Management Unit and Area
                      of Concern Location Map (as included in 1997 A.T. Kearney Visual Site
                      Inspection Report), Exhibit 9;
                  •   ICE-021851, Brown and Caldwell Site Map, May 2000, Exhibit 10;
                  •   1975 Rockwell Spill Prevention and Control Plan, Exhibit 11;
                  •   1995 Ashley Dep, p. 422-429, Exhibit 3.

   17. Phil Backlund, the then-Director of Facilities Administration for Rockwell, testified that the the
       original underground toluene tank was removed “because apparently it sprung a leak.” Ex. 10 (P.
       Backlund (Redacted) Dep. Tr. 669:4-25).

        RESPONSE: Not disputed by Plaintiffs.

   18. The original toluene underground storage tank leaked into the ground during Rockwell’s
       ownership and was replaced in 1982. See Ex. 11 (M. Williams (Redacted) Dep. Tr. 101-02); Ex.
       12 (S. Martin 1995 Dep Tr. 179); Ex. 13 (G. Boyd Dep. Tr. 54).

        RESPONSE: Not disputed by Plaintiffs.

IV.    Textron’s Ownership and Operation of the Facility

   19. Randall Wheel Trim, Inc. (a Textron subsidiary) acquired the Facility from Rockwell on July 1,
       1985. Ex. 14 (1985 Purchase & Sale Agreement).
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     RESPONSE: Not disputed by Plaintiffs.

20. At the time Randall took over operations at the plant, it used a licensed disposal vendor to
    dispose of all hazardous waste. Ex. 5 (G. Simpson Dep. Tr. 33:12-17; 70:14-19; 72:6-25); Ex. 6
    (All Plaintiffs’ Responses to RFA Nos. 11-12).

     RESPONSE: Plaintiffs do not dispute that Textron hired licensed vendors to collect and
     transport its hazardous wastes upon taking over operations at the Facility.

21. At the time Randall took over operations of the plant, it did not know about the leak from a TCE
    storage tank or any piping associated with that tank. Ex. 5 (G. Simpson Dep. Tr. 99:7- 12); Ex.
    14 (Schedule IX to 1985 Purchase and Sale Agreement).

     RESPONSE: Disputed. When Textron purchased the facility it became the employer, by
     virtue of the terms of the purchase agreement, of the former Rockwell employees that
     had knowledge of the TCE tank piping rupture and release, the fact that no remediation
     or clean up of the TCE that had been released had been conducted, the fact that the
     released TCE remained in the ground, the fact that the TCE was hazardous to the
     environment and human health and the fact that TCE was a RCRA hazardous material
     with carcinogenic properties and that spills of TCE were legally required to be reported
     to regulatory agencies. The knowledge of those employees was imputed to Textron as a
     matter of Mississippi law. Plaintiffs’ positions are supported by controlling legal
     precedent and the following factual evidence in this case:
         • 1995 Martin Dep., pp. 177-184, Exhibit 2.
         • 1996 Backlund Dep., pp. 706-707, Exhibit 1.


22. At the time Randall took over operations of the plant, it did not know about the leak from a
    toluene tank or associated piping. Ex. 5 (G. Simpson Dep. Tr. 99:13-18); Ex. 14 (Schedule IX to
    1985 Purchase and Sale Agreement).

     RESPONSE: Disputed. When Textron purchased the facility it became the employer,
     by virtue of the terms of the purchase agreement, of the former Rockwell employees that
     had knowledge of the toluene leak, the fact that no remediation or clean up of the toluene
     that had been released had been conducted, the fact that the released toluene remained in
     the ground and the fact that toluence was a RCRA hazardous material and that spills of
     toluene were legally required to be reported to regulatory agencies. The knowledge of
     those employees was imputed to Textron as a matter of Mississippi law. Plaintiffs’
     positions are supported by controlling legal precedent and the following factual evidence
     in this case:
         • 1995 Martin Dep., pp. 184-188, Exhibit 2.

23. Plaintiffs have admitted that “the Facility ceased purchasing TCE in substantial quantities for
    use as a solvent in the paint department in or about 1992.” Ex. 6 (All Plaintiffs’ Responses to RFA
    No. 13).

     RESPONSE: Plaintiffs do not dispute that the Facility stopped using TCE as a solvent in
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          the paint department in 1992 and did not purchase substantial quantities of TCE after
          that time.

     24. Plaintiffs have admitted “that from 1985 to 1999 the Grenada Manufacturing Facility used a
         third-party waste disposal company to dispose of buffing compound waste from the facility.” Id. at
         RFA No. 12.

          RESPONSE: Not disputed by Plaintiffs as stated, though Plaintiffs submit that both
          Textron misrepresented to the transporters of the buffing waste the characteristics of
          that waste by failing to disclose that the Mississippi State Chemical Laboratory analyzed
          the buffing compound and determined it to constitute and hazardous waste. See
          Correspondence and Testing Materials for Buffing Sludge, Exhibit 12.

     25. In a March 7, 1990 letter to Textron’s Sayles Martin, the EPA wrote: “Please congratulate your
         staff for making significant strides in improving the Randall-Textron self-monitoring program.
         The current program was well organized and efficiently carried out by your environmental staff.”
         Ex. 15 (3/7/1990 EPA Letter (ICE-018984)).

          RESPONSE: Plaintiffs do not dispute that the letter quoted, which concerned the
          monitoring of the wastewater treatment facility at the plant, was sent by the EPA to Mr.
          Martin. Plaintiffs dispute that this fact is material to any issue raised in Textron’s
          motion for summary judgment.

     26. No regulatory agency has ordered or directed Textron to conduct remediation or corrective
         action in the Eastern Heights neighborhood. Ex. 5 (G. Simpson Dep. Tr. 134:17-21).

         RESPONSE: Not disputed by Plaintiffs.


V.       Remedial Investigations and Orders

     27. EPA inspectors took notes of their January 31, 1989 inspection of the Facility in a Site
         Inspection Report, which stated: “Dumping of wastes took place from 1961-1967 . . . disposal areas
         could be best described as open dumps or piles of waste” and “[a]djacent to the second disposal
         area, are +50 drums scattered through the wooded, swampy area. Some of the drums are full of
         partially dried sludge, some partially empty. Ex. 16 (TEX_MDEQ_005943 at 51- 52).

         RESPONSE: Disputed. Plaintiffs are unable to locate the information or quotations
         included above at the citation provided, which does not exist. Plaintiffs do not dispute,
         however, that Rockwell dumped plant waste in the onsite dump from 1965 until 1967, or
         that Lyon, Inc. dumped waste in that location from 1961 until 1965.

     28. In their Report of the 1989 Facility investigation, the EPA found that contamination in the soil
         and groundwater at the Facility “is a direct result of the improper disposal practices and lack of
         containment structures used by Rockwell during the time period 1961-1967.” Id.
         (TEX_MDEQ_005943 at Section 5.0).


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      RESPONSE: Disputed. The actual language found on the cited page states “It is
      suspected that this inorganic contamination is a direct result of the improper disposal
      practices and lack of containment structures used by Rockwell during the time period
      1961-1967.” This statement is fundamentally flawed, as Rockwell did not purchase the
      Facility until 1965. Further, the author of the document in question was not the
      Environmental Protection Agency, but rather NUS Corporation, who was a contractor
      working for the EPA. Textron’s assertion, therefore, is misleading on several fronts. See
      VSI Report §5.0 (Dkt. Nos. 601 and 601-1).

  29. The Eckenfelder Report identified the on-site landfill, toluene storage area, and TCE storage area
      as the “most significant sources of constituents of interest.” Ex. 17 (1994 Remedial
      Investigation Report at ES-12).

      RESPONSE: Disputed. Again, Textron’s statement is grossly misleading. The actual
      language of the Eckenfelder Report reads:

      “Three of the most significant sources of constituents of interest at the site appear to have
      been the on-site landfill, the toluene storage area, and the trichloroethene storage area.
      In addition, there appear to have been significant releases in the area that includes the
      equalization lagoon, the chromium reduction unit, the wet well, and the process sewers. The
      wastewater treatment plant at the site has been shown to be another source of
      constituents, through its discharge to the outfall ditch. In addition, the sludge lagoon
      may be a source of constituents, generally blending in with contributions from the
      landfill.” See 1994 Remedial Investigation Report at ES-12 (Dkt. No. 601-3) emphasis
      added.


VI.   Areas of Contaminant Plumes

  30. The T&M Associates Moose Lodge Road Additional Investigation Report prepared for the
      MDEQ described the “Facility CVOC [Chlorinated Volatile Organic Compound] Plume” as
      follows: “The largest source of CVOC mass for these plumes is AOC [Area of Concern] A,
      where a known release of TCE occurred . . . .” Ex. 18 (T&M MLRA Report at 4-1).

      RESPONSE: Disputed. The above description is incomplete and misleading. The actual
      language of the quoted report reads:

      “There is an SZ (Shallow Zone) and a DZ (Deep Zone) plume at the facility. The largest
      source of CVOC mass for these plumes is AOC A, where a known release of TCE
      occurred in the 1980s. Other, lesser sources of CVOC to groundwater at the facility
      include the former EQ Lagoon, the former Sludge Lagoon and the former On-Site
      Landfill (all of which have been remediated and closed).”

      It is critical to note that Textron, during its ownership, used the EQ Lagoon and Sludge
      Lagoon in its operations, and was responsible for the closure of the EQ Lagoon, which
      was “dirty closed”, meaning that the contaminated sludges from the lagoon were
      deposited in a cell within the boundaries of the old lagoon and will remain there
      permanently. The EQ Lagoon, in fact, is generally accepted to be a source of
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    groundwater contamination at the Facility site. See Dkt. No. 544-12 (Brinkman, et al.
    Report); Supplement to 2012 Groundwater Monitoring Report, T&M Associates, Inc., §
    2.3.2.1, Dkt. No. 618-33; Equalization Lagoon Characterization Study, 1994, Woodward-
    Clyde Consultants, pp. 9-12, Dkt. No. 618-32. In fact, Textron accepted financial
    responsibility, on a percentage basis, for remediating contamination from the lagoon as a
    part of its 1995 settlement with Rockwell related to disputes arising from the
    contamination at issue in this lawsuit. Textron’s suggestions, now, that it played no role
    in the contamination existing at the site cannot be squared with either its past
    acknowledgment of its role as a polluter or the fact that it sent process waters loaded with
    toxic contaminants to the EQ Lagoon for more than a decade.
            When regulators required the closure of the lagoon under RCRA, sampling
    showed high levels of TCE, chromium and other contaminants. Equalization Lagoon
    Characterization Study, Dkt. No. 618-32, Table 2. Textron’s consultants determined that
    the lagoon did not have an intact clay bottom and that the groundwater was likely able to
    communicate directly with the sludge on the lagoon’s floor. Id., p. 12. Additionally, to
    protect against continued contributions to groundwater contamination from the lagoon,
    MDEQ required that Textron provide confirmatory sampling of the margins of the floor
    and walls of the lagoon during the closure to ensure that contaminated materials were
    not trapped beneath the cell created to hold the sludge gathered in the dirty closure
    process, but Textron failed to perform this testing. 1996 Backlund Dep., p. 1039, Exhibit
    1.

31. The T&M Associates Moose Lodge Road Additional Investigation Report identified a plume
    beneath the Eastern Heights neighborhood as follows: “the neighborhood plume includes some
    CVOCs in the shallow and deep portions of the Upper Aquifer.” Id. at 4-3.

    RESPONSE: Plaintiffs do not dispute that the cited report reads as stated, but do dispute
    the factual accuracy of the statement itself. The neighborhood contaminant plume, as
    shown by the VAP testing conducted by Arcadis in 2015, includes constituents other than
    CVOCs. In fact, the entire Eastern Heights neighborhood is underlain by groundwater
    containing arsenic, lead and chromium in concentrations that greatly exceed the EPA
    established MCLs for these contaminants. The TCE contamination, which impacts
    roughly the southern third of the neighborhood’s land area, is only one aspect of the
    environmental impacts visited on Eastern Heights as a consequence of the Facility’s
    operations. See Affidavit of Scott Simonton, Dkt. No. 618-44; 2015 Arcadis VAP Testing
    Report, Dkt. No. 618-43.


32. The T&M Associates Moose Lodge Road Additional Investigation Report described evidence
    supporting the “firm conclusion that CVOC [Chlorinated Volatile Organic Compound] transport
    in groundwater from the facility to the neighborhood has not occurred and will not occur in the
    absence of major changes to the Study Area flow system.” Id. at 4- 5.

    RESPONSE: Disputed. The cited T&M Report purports to list four factors that it
    contends support the conclusion here stated. However, the evidence in this case shows
    groundwater flows that move directly from AOC A in the direction of Eastern Heights,
    refuting the central premise of Mr. Peeples’ argument: that groundwater from the
    facility never flows north toward the neighborhood. Further, documents obtained from
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    Meritor reflect that the “separate plumes” theory espoused in the cited section was a
    construct created by Mr. Peeples at the instruction of Meritor’s lawyers in an effort to
    avoid liability in this lawsuit and other related actions. See Plaintiffs’ Response in
    Opposition to Textron’s Motion to Partially Exclude Testimony of Plaintiff’s
    Groundwater Experts (“Textron Groundwater Motion”), Dkt No. 629; J. Peeples Notes
    5/22/17, Dkt. No. 618-41; J. Peeples Notes 4/20/17, Dkt. 618-39.


33. The T&M Associates Moose Lodge Road Additional Investigation Report described the Shaley
    Clay Aquitard (“SCA”) as follows: “The SCA beneath the Upper Aquifer acts as a low-
    permeability barrier separating the Upper and Lower Aquifers in the Study Area . . . . the SCA
    is considered to be consistently present throughout the area.” Id. at 3-14.

    RESPONSE: Not disputed by Plaintiffs that this statement is contained in the report
    cited, though the accuracy of the statement is disputed. Testimony from experts in this
    case, as well as the report of Tetra Tech, a consultant hired by the EPA, both indicate
    that the upper and lower aquifers in the area are hydraulically connected, meaning that
    the SCA is not consistently present throughout the area or, alternatively, that it is not
    impermeable. Further, constituents of concern found at the plant have been detected in
    the lower, regional aquifer. The Plaintiffs’ positions are supported by the following
    evidence:

        •   Deposition of David Jenkins, 8/8/2017, pp. 139-140, Excerpts at Exhibit 13.
        •   Final Expanded Site Inspection Report, Tetra Tech, 4/28/2017, Dkt. No. 618-2.

34. Plaintiffs’ proffered groundwater experts (James Brinkman, David Jenkins, and Scott Simonton)
    stated in their expert report that “under present conditions groundwater flow is not expected to
    cross from” the Facility to the Eastern Heights neighborhood. Ex. 19 (Groundwater Report at
    7).

    RESPONSE: Disputed as incomplete and misleading. The actual text of the cited report
    reads:

   “The facility borders the subdivision, and at least under present conditions groundwater
   flow is not expected to cross from one property to another. However, groundwater flow
   direction has varied over time and at time has flowed from the facility toward the
   subdivision.” See Expert Report of Brinkman, Jenkins and Simonton, p. 7 (Dkt. No. 598-
   4).

   Neither Mr. Jenkins nor any of Plaintiffs’ groundwater experts testified or opined that
   groundwater from the facility does not cross into Eastern Heights under some
   groundwater conditions, and Textron is aware of that fact, and that a large number of
   detailed groundwater flow maps created by Secor and Stantec, the consultants that have
   worked on Moose Lodge Road since 1993, clearly show groundwater flows that move
   north from the Facility into Eastern Heights. See Plaintiffs’ Response Textron’s
   Groundwater Motion, Dkt No. 629, collecting opinions, evidence and testimony relevant to
   this topic, which reflect clearly that this is not a subject area in which the facts are, in any

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   fashion, undisputed.

35. Brinkman testified that groundwater underneath the Facility “flows first to the northwest, and it
    flows to Riverdale Creek.” Ex. 20 (J. Brinkman Dep. Tr. 210:17-20).
    REPONSE: Disputed. Mr. Brinkman testified that reports he had reviewed regarding
    the groundwater flow underneath the facility showed a northwest, then westerly flow.
    See Plaintiffs’ Response to Textron’s Groundwater Motion, Dkt. No. 629, collecting
    opinions, evidence and testimony relevant to this topic.

36. Brinkman testified that he did not evaluate the permeability of the soils beneath the equalization
    lagoon before it was remediated. Id. at 212:10-12.

    RESPONSE: Disputed as misleading. Mr. Brinkman was not present when the EQ
    Lagoon was remediated and could not have evaluated any soils at that time. He testified
    he did not know the conductivity sample for the EQ Lagoon before it was remediated.
    See text of cited testimony.

37. Brinkman testified that he was not sure of any modeling that has been performed that simulates
    the flow of groundwater from the Facility north into the Eastern Heights neighborhood. Id. at
    213:8-13.

    RESPONSE: Not disputed that Mr. Brinkman testified he was “not sure” of any
    modeling simulating the flow of groundwater from the facility north into the Eastern
    Heights neighborhood. Disputed that any modeling was necessary, where the actual,
    recorded water level measurements are available over the better part of two decades and
    reveal northerly groundwater flows from the Facility are towards Eastern Heights. See
    Plaintiffs’ Response to Textron’s Groundwater Motion, Dkt. No. 629, collecting opinions,
    evidence and testimony relevant to this topic.

38. Brinkman testified there was no detection of TCE, DCE, or vinyl chloride in the drinking water
    from the City of Grenada wells. Id. at 218:5-12.

     RESPONSE:       Plaintiffs do not dispute that there has been no detection of these
     compounds in the City of Grenada drinking water that they are aware of, nor that Mr.
     Brinkman so testified.

39. Simonton, testified that he was not aware of any table that supports the statement in his report that
    says groundwater flow direction has varied over time and at times has flowed from the facility
    toward the neighborhood, and he relied on a table that concerned groundwater flow from the
    MLRA. Ex. 21 (S. Simonton Dep. Tr. 249:4-250:1-6).

    RESPONSE: Disputed as incomplete and misleading. Dr. Simonton testified that he is
    aware of maps that show water flowed from the facility towards the neighborhood but
    not aware of any tables describing those maps. See cited testimony. See also Plaintiffs’
    Response to Textron’s Groundwater Motion, Dkt. No. 629, collecting opinions, evidence
    and testimony relevant to this topic.

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40. Simonton testified that he was not aware of of any Eastern Heights property owner that is using
    groundwater from the upper aquifer. Id. at 212:6-8.

    RESPONSE: Not disputed by Plaintiffs.

41. Jenkins testified that he has not seen any data that would suggest that the groundwater flow
    direction is from the Facility north into the Eastern Heights neighborhood. Ex. 22 (D. Jenkins Dep.
    Tr. 72:10-14).

    RESPONSE: Disputed. See Plaintiffs’ Response to Textron’s Groundwater Motion,
    collecting opinions, evidence and testimony relevant to this topic.

42. Jenkins testified that there is modeling that he could have performed to evaluate whether
    groundwater has moved from the facility north into the Eastern Heights neighborhood. Id. at
    72:25-73:5.

    RESPONSE: Not disputed that Mr. Jenkins testified that there is modeling that could
    have been performed to make such a determination. It is disputed that any such
    modeling would have been of benefit, given that actual groundwater data, over more than
    a decade is available to show what the groundwater in the area did do, as opposed to
    what it potentially might have done. See also Plaintiffs’ Response to Textron’s
    Groundwater Motion, Dkt. No. 629, collecting opinions, evidence and testimony relevant
    to this topic.

43. Jenkins testified that he did not perform any modeling to determine whether before the
    equalization lagoon was remediated, groundwater could have flowed from the Facility north into
    the Eastern Heights neighborhood. Id. at 72:15-24.

    RESPONSE: Disputed. Incomplete and misleading. Mr. Jenkins testified as follows:

     Q: There is a reference in your expert report, which is Exhibit 458, that there is a
     potential that at some point in time before the equalization lagoon was line that there
     could have been groundwater flow from south to north. Do you recall that?

     A:    Yes.

     Q: Was there any type of modeling that you performed to determine whether or not that
     hypothesis is correct?

     A: No, there was not.

     See text of cited testimony.

44. Jenkins testified that he did not try to collect any additional data to input into a model to predict
    what the historical groundwater flow patterns were in the Eastern Heights neighborhood. Id. at
    76:20-25.

    RESPONSE: Not disputed by Plaintiffs.
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  45. Jenkins testified that he was not asked to perform modeling to determine whether the
      groundwater ever flowed north from the Facility toward the Eastern Heights neighborhood,
      before the equalization lagoon was remediated. Id. at 78-9-14.

       RESPONSE: Not disputed by Plaintiffs.

  46. Jenkins testified that he did not attempt to determine whether there was any contamination in the
      lower aquifer. Id. at 137:23-138:5.

       RESPONSE: Disputed as incomplete. Mr. Jenkins testified that he did not attempt to
       determine whether there was any contamination in the deeper regional aquifer, as
       opposed to the lower portion of the upper aquifer. See text of cited testimony.

  47. Jenkins testified that he is not aware of any data collected by the City of Grenada or any other
      government entity suggesting that there is contamination from the Facility in the regional
      aquifer. Id. at 140:7-11.

       RESPONSE: Not disputed that Mr. Jenkins testified as stated. This testimony was given,
       however, before Mr. Jenkins had reviewed the Tetra Tech Expanded Site Review, which
       provided evidence that the regional aquifer had been compromised by lead, which is a
       constituent of concern from the Grenada Facility. See Dkt. No. 618-2, p. 23.

VII.   Testing of Plaintiffs’ Properties

  48. BTEX refers to the chemicals benzene, toluene, ethyl benzene, and xylene, which naturally
      occur in crude oil and petroleum products such as gasoline. See e.g., Ex. 21 (S. Simonton Dep.
      Tr. 83:1-5).

       RESPONSE: Not disputed by Plaintiffs.

  49. Brady. Plaintiffs’ experts tested the groundwater and sub-slab soil gas of Plaintiff Brady’s
      property at 153 Tallahoma Drive. The groundwater test detected TCE, but had no detections for
      BTEX. See Ex. 23 (Plaintiffs’ Review of the Data at 23)‡; Ex. 24 (GCAL Report # 216071312 at
      7, 27-29). The sub-slab soil gas test detected TCE and one or more BTEX constituents.
      Plaintiffs’ experts did not test the soil gas, indoor air, or outdoor air at 153 Tallahoma Drive for
      TCE or BTEX. Ex. 25 (Fineis Rpt. App’x IV, Tables 2, 4, 6, 8).§

       RESPONSE: Disputed as incomplete and misleading. Textron’s proffered “facts”
       generalize the findings contained in the testing cited and fail to acknowledge testing by
       the Defendants and regulators in Eastern Heights that establishes the presence of
       contaminants at Ms. Brady’s residence. By way of example, for the purposes of the
       present motion, the 2015 VAP Testing conducted by Arcadis in the Eastern Heights
       Neighborhood shows the following contaminants associated with Facility operations
       present at Ms. Brady’s property at levels exceeding EPA MCLs: Chromium (570 ug/l),
       Arsenic (60 ug/l), Lead (300 ug/l) and TCE (150 ug/l). See 2015 Arcadis VAP Testing
       Report, Dkt. No. 618-43; Affidavit of Scott Simonton, Dkt. No. 618-44.

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50. Caffey. Plaintiffs’ experts tested the groundwater and soil gas of Plaintiff Caffey’s property at
    137 Tallahoma Drive. The groundwater test showed non-detects for TCE and BTEX. See Ex. 23
    (Plaintiffs’ Review of the Data at 23); Ex. 26 (GCAL Report # 216071409 at 15). The soil gas
    test detected one or more BTEX constituents, but showed a non-detect for TCE. Plaintiffs’ experts
    did not test the sub-slab soil gas, indoor air, or outdoor air at 137 Tallahoma Drive for TCE or
    BTEX. Ex. 25 (Fineis Rpt. App’x IV, Tables 2, 4, 6, 8).

    RESPONSE: Disputed as incomplete and misleading. Textron’s proffered “facts”
    generalize the findings contained in the testing cited and fail to acknowledge testing by
    the Defendants and regulators in Eastern Heights that establishes the presence of
    contaminants at Ms. Caffey’s residence. By way of example, for the purposes of the
    present motion, the 2015 VAP Testing conducted by Arcadis in the Eastern Heights
    Neighborhood shows the following contaminants associated with Facility operations
    present at Ms. Caffey’s property at levels exceeding EPA MCLs: Chromium (600 ug/l),
    Arsenic (50 ug/l) and Lead (180 ug/l). See 2015 Arcadis VAP Testing Report, Dkt. No.
    618-43; Affidavit of Scott Simonton, Dkt. No. 618-44.

51. Crumley and Phillips. Plaintiffs’ experts tested the groundwater, soil gas, and background air of
    Plaintiffs Crumley and Phillips’ property at 176 Lyon Drive. The groundwater test showed a non-
    detect for TCE and BTEX. See Ex. 23 (Plaintiffs’ Review of the Data at 23); Ex. 27 (GCAL
    Report # 216071505 at 6). The soil gas test detected one or more BTEX constituents, but
    showed a non-detect for TCE. Plaintiffs’ experts did not test the sub-slab soil gas or indoor air at
    176 Lyon Drive for TCE or BTEX. Ex. 25 (Fineis Rpt. App’x IV, Tables 2, 4, 6, 8).

    RESPONSE: Disputed as incomplete and misleading. Textron’s proffered “facts”
    generalize the findings contained in the testing cited and fail to acknowledge testing by
    the Defendants and regulators in Eastern Heights that establishes the presence of
    contaminants at this property. By way of example, for the purposes of the present
    motion, the 2015 VAP Testing conducted by Arcadis in the Eastern Heights
    Neighborhood shows the following contaminants associated with Facility operations
    present at this property at levels exceeding EPA MCLs: Chromium (570 ug/l), Arsenic
    (49 ug/l) and Lead (76 ug/l). See 2015 Arcadis VAP Testing Report, Dkt. No. 618-43;
    Affidavit of Scott Simonton, Dkt. No. 618-44.


52. Cunningham. Plaintiffs’ experts tested the sub-slab soil gas and background air of Plaintiff
    Cunningham’s property at 155 Tallahoma Drive. The groundwater test detected TCE, but
    showed a non-detect for BTEX. See Ex. 23 (Plaintiffs’ Review of the Data at 23); Ex. 28
    (GCAL Report # 216071408 at 6, 10-12). The sub-slab soil gas test showed non-detects for TCE
    and BTEX. Plaintiffs’ experts did not test the soil gas or indoor air at 155 Tallahoma Drive for
    TCE or BTEX. Ex. 25 (Fineis Rpt. App’x IV, Tables 2, 4, 6, 8).

    RESPONSE: Disputed as incomplete and misleading. Textron’s proffered “facts”
    generalize the findings contained in the testing cited and fail to acknowledge testing by
    the Defendants and regulators in Eastern Heights that establishes the presence of
    contaminants at Ms. Cunningham’s residence. By way of example, for the purposes of
    the present motion, the 2015 VAP Testing conducted by Arcadis in the Eastern Heights
    Neighborhood shows the following contaminants associated with Facility operations
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    present at Ms. Cunningham’s property at levels exceeding EPA MCLs: Chromium (380
    ug/l), Arsenic (60 ug/l), Lead (300 ug/l) and TCE (300 ug/l). See 2015 Arcadis VAP
    Testing Report, Dkt. No. 618-43; Affidavit of Scott Simonton, Dkt. No. 618-44.

53. Cooper. Plaintiffs’ experts tested the soil gas of Plaintiff Cooper’s property at 117 Tallahoma
    Drive. The groundwater test showed non-detects for TCE and BTEX. See Ex. 23 (Plaintiffs’
    Review of the Data at 23); Ex. 27 (GCAL Report # 216071505 at 12-14). The soil gas test
    detected one or more BTEX constituents, but showed a non-detect for TCE. Plaintiffs’
    experts did not test the sub-slab soil gas, indoor air, or background air at 117 Tallahoma Drive
    for TCE or BTEX. Ex. 25 (Fineis Rpt. App’x IV, Tables 2, 4, 6, 8).

     RESPONSE: Disputed as incomplete and misleading. Textron’s proffered “facts”
     generalize the findings contained in the testing cited and fail to acknowledge testing by
     the Defendants and regulators in Eastern Heights that establishes the presence of
     contaminants at Ms. Cooper’s residence. By way of example, for the purposes of the
     present motion, the 2015 VAP Testing conducted by Arcadis in the Eastern Heights
     Neighborhood shows the following contaminants associated with Facility operations
     present at Ms. Cooper’s property at levels exceeding EPA MCLs: Chromium (450 ug/l),
     Arsenic (60 ug/l) and Lead (260 ug/l). See 2015 Arcadis VAP Testing Report, Dkt. No.
     618-43; Affidavit of Scott Simonton, Dkt. No. 618-44.

54. Odomes. Plaintiffs’ experts tested the groundwater and soil gas of Plaintiff Odomes’ property at
    139 Tallahoma Drive. The groundwater test showed non-detects for TCE and BTEX. See Ex. 23
    (Plaintiffs’ Review of the Data at 23); Ex. 24 (GCAL Report # 216071312 at 21-23). The soil gas
    test detected one or more BTEX constituents, but showed a non- detect for TCE. Plaintiffs’
    experts did not test the sub-slab soil gas, indoor air, or background air at 139 Tallahoma Drive for
    TCE or BTEX. Ex. 25 (Fineis Rpt. App’x IV, Tables 2, 4, 6, 8).

    RESPONSE: Disputed as incomplete and misleading. Textron’s proffered “facts”
    generalize the findings contained in the testing cited and fail to acknowledge testing by
    the Defendants and regulators in Eastern Heights that establishes the presence of
    contaminants at Ms. Odomes’ residence. By way of example, for the purposes of the
    present motion, the 2015 VAP Testing conducted by Arcadis in the Eastern Heights
    Neighborhood shows the following contaminants associated with Facility operations
    present at Ms. Odomes’ property at levels exceeding EPA MCLs: Chromium (640 ug/l),
    Arsenic (50 ug/l) and Lead (200 ug/l). See 2015 Arcadis VAP Testing Report, Dkt. No.
    618-43; Affidavit of Scott Simonton, Dkt. No. 618-44.


55. Richardson. Plaintiffs’ experts tested the soil gas of Plaintiff Richardson’s property at 147
    Tallahoma Drive. The groundwater test showed non-detects for TCE and BTEX. See Ex. 23
    (Plaintiffs’ Review of the Data at 23); Ex. 26 (GCAL Report # 216071409 at 11-12). The soil gas
    test detected one or more BTEX constituents, but showed a non-detect for TCE. Plaintiffs’
    experts did not test the sub-slab soil gas, indoor air, or background air for TCE or BTEX. Ex. 25
    (Fineis Rpt. App’x IV, Tables 2, 4, 6, 8).

    RESPONSE: Disputed as incomplete and misleading.                   Textron’s proffered “facts”
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    generalize the findings contained in the testing cited and fail to acknowledge testing by
    the Defendants and regulators in Eastern Heights that establishes the presence of
    contaminants at Ms. Richardson’s residence. By way of example, for the purposes of the
    present motion, the 2015 VAP Testing conducted by Arcadis in the Eastern Heights
    Neighborhood shows the following contaminants associated with Facility operations
    present at Ms. Richardson’s property at levels exceeding EPA MCLs: Chromium (680
    ug/l), Arsenic (48 ug/l) and Lead (260 ug/l). See 2015 Arcadis VAP Testing Report, Dkt.
    No. 618-43; Affidavit of Scott Simonton, Dkt. No. 618-44.

56. Seldon. Plaintiffs’ experts tested the groundwater and soil gas of Plaintiff Seldon’s property at
    164 Lyon Drive. The groundwater test showed non-detects for TCE and BTEX. See Ex. 23
    (Plaintiffs’ Review of the Data at 23); Ex. 27 (GCAL Report # 216071505 at 24-26). The soil gas
    test detected one or more BTEX constituents, but showed a non-detect for TCE. Plaintiffs’
    experts did not test the sub-slab soil gas, indoor air, or background air at 164 Lyon Drive for TCE
    or BTEX. Ex. 25 (Fineis Rpt. App’x IV, Tables 2, 4, 6, 8).

    RESPONSE: Disputed as incomplete and misleading. Textron’s proffered “facts”
    generalize the findings contained in the testing cited and fail to acknowledge testing by
    the Defendants and regulators in Eastern Heights that establishes the presence of
    contaminants at Ms. Seldon’s residence. By way of example, for the purposes of the
    present motion, the 2015 VAP Testing conducted by Arcadis in the Eastern Heights
    Neighborhood shows the following contaminants associated with Facility operations
    present at Ms. Seldon’s property at levels exceeding EPA MCLs: Chromium (570 ug/l),
    Arsenic (70 ug/l) and Lead (140 ug/l). See 2015 Arcadis VAP Testing Report, Dkt. No.
    618-43; Affidavit of Scott Simonton, Dkt. No. 618-44.


57. Ward. Plaintiffs’ experts tested the sub-slab soil gas, indoor air, and background air of Plaintiff
    Ward’s property at 151 Tallahoma Drive. The groundwater test showed non-detects for TCE and
    BTEX. See Ex. 23 (Plaintiffs’ Review of the Data at 23); Ex. 24 (GCAL Report
    # 216071312 at 6, 25-27). The sub-slab soil gas test detected one or more BTEX constituents, but
    showed a non-detect for TCE. The indoor air test detected one or more BTEX constituents, but
    showed a non-detect for TCE. The background air test detected one or more BTEX constituents,
    but showed a non-detect for TCE. Plaintiffs’ experts did not test the soil gas at 151 Tallahoma
    Drive for TCE or BTEX. Ex. 25 (Fineis Rpt. App’x IV, Tables 2, 4, 6, 8).

    RESPONSE: Disputed as incomplete and misleading. Textron’s proffered “facts”
    generalize the findings contained in the testing cited and fail to acknowledge testing by
    the Defendants and regulators in Eastern Heights that establishes the presence of
    contaminants at Ms. Ward’s residence. By way of example, for the purposes of the
    present motion, the 2015 VAP Testing conducted by Arcadis in the Eastern Heights
    Neighborhood shows the following contaminants associated with Facility operations
    present at Ms. Ward’s property at levels exceeding EPA MCLs: Chromium (640 ug/l),
    Arsenic (60 ug/l), Lead (280 ug/l) and TCE (150 ug/l). See 2015 Arcadis VAP Testing
    Report, Dkt. No. 618-43; Affidavit of Scott Simonton, Dkt. No. 618-44.



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VIII. Vapor Intrusion

  58. In April 2016, the EPA released a Fact Sheet to the public regarding “EPA Sampling Activities
      in April and May 2016” which stated: “Based on results received to date, EPA has determined
      there is no immediate threat to public health.” Ex. 29 (Apr. 2016 EPA Fact Sheet
      #4).

       RESPONSE: Plaintiffs do not dispute that the cited EPA fact sheets were released, nor
       that they contain the quoted language, along with considerable other material. Plaintiffs
       dispute that the offered statement(s) are complete and assert that, taken out of context,
       they are misleading. Plaintiffs further object on the grounds that the EPA’s opinions are
       untestable, and therefore unreliable and inadmissible, expert opinions. See Plaintiffs’
       Motion to Exclude Reports and Opinions of US EPA and Memorandum in Support, Dkt.
       Nos. 589, 590.


  59. In August 2016, September 2016, and April 2017, the EPA released to the public three fact
      sheets titled “Sampling Results in Eastern Heights,” which state that “[b]ased on results received
      to date, EPA has determined that there is no immediate threat to public health in the Eastern
      Heights neighborhood due to TCE.” Ex. 30-32 (Aug. 2016 - Apr. 2017 EPA Fact Sheets ##5-6,
      9).

       RESPONSE: Plaintiffs do not dispute that the cited EPA fact sheets were released, nor
       that they contain the quoted language, along with considerable other material. Plaintiffs
       dispute that the offered statement(s) are complete and assert that, taken out of context,
       they are misleading. Plaintiffs further object on the grounds that the EPA’s opinions are
       untestable, and therefore unreliable and inadmissible, expert opinions. See Plaintiffs’
       Motion to Exclude Reports and Opinions of US EPA and Memorandum in Support, Dkt.
       Nos. 589, 590.


  60. In March 2017, the EPA reported the following results of its vapor intrusion testing conducted
      in November/December 2016 in the Eastern Heights neighborhood:

              In November/December 2016, EPA conducted a second round of vapor intrusion
              testing in [17 homes in the south and southeast area of the neighborhood]. TCE was
              detected in the indoor air of one resident at a level below the screening level. TCE was
              also detected in sub-slab air in two homes at levels far below the screening level.
              Consistent with previous results, EPA did not find that chemicals present in the
              groundwater were entering homes via vapor intrusion.

       Ex. 33 (Mar. 2017 EPA Sampling Results at 2, https://www.epa.gov/grenadacleanup/sampling-
       results-eastern-heights-grenada-ms).

       RESPONSE: Plaintiffs do not dispute that the quoted language was released by the
       EPA. Plaintiffs object to Textron’s presentation of or reliance on these statements as
       facts in that the EPA’s opinions are untestable, and therefore unreliable, expert opinions.
       See Plaintiffs’ Motion to Exclude Reports and Opinions of US EPA and Memorandum
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     in Support, Dkt. Nos. 589, 590.

61. The EPA reported in its April 2017 Fact Sheet that “Consistent with previous results, EPA did
    not find that chemicals present in the groundwater were entering homes via vapor intrusion. An 8
    to 12-foot silty clay layer underlies the neighborhood and appears to be preventing TCE vapors
    from coming up into the homes.” Ex. 32 (Apr. 2017 EPA Fact Sheet
    #9 at 1).

     RESPONSE: Plaintiffs do not dispute that the quoted language appeared in the April
     2017 EPA Fact Sheet. Plaintiffs object to Textron’s presentation of these statements as
     facts in that the EPA’s opinions are untestable, and therefore unreliable, expert opinions.
     See Plaintiffs’ Motion to Exclude Reports and Opinions of US EPA and Memorandum
     in Support, Dkt. Nos. 589, 590. Plaintiffs further dispute the factual accuracy of the
     statements contained in this submission. The testing performed by consultants working
     for Plaintiffs, Meritor and the EPA shows that the clay layer, to the extent it exists in
     Eastern Heights, does not prevent the migration of vapor contamination from migrating
     to the surface. See Affidavit of Scott Simonton, Dkt. No. 629-13, collecting and discussing
     testing results.

 62. Fineis testified that he was not able to form an opinion to a reasonable degree of scientific
     certainty that there is a completed pathway from background air to indoor air for each of the
     Plaintiffs homes. Ex. 34 (Fineis Dep. Tr. 143:16-20).

     RESPONSE: Disputed as incomplete and misleading. Mr. Fineis was being questioned
     in this excerpt only about houses where no indoor air testing was performed at the same
     time as soil gas testing. He testified only that he could not establish a completed pathway
     in the residences of Plaintiffs where he had no indoor air testing data. He did not testify
     that he could not, if proper testing was performed and he was asked to do so, establish
     such a pathway. Textron’s suggestion otherwise is misleading. See Plaintiffs’ Opposition
     to Motion to Exclude Testimony and Opinions of James Fineis, Dkt. No. 626.

63. Fineis testified that if a chemical is found in the soil gas but not found in the sub-slab and not
    found in the house, then there is not a completed pathway for that chemical. Id. at 128:6-21.

     RESPONSE: Not disputed by Plaintiffs that Mr. Fineis testified as stated. Disputed that this fact
     is material to Textron’s motion, or to this case, which does require proof of a vapor intrusion
     pathway.

64. Fineis testified that if a chemical is not found in the soil gas, is not found in the sub-slab, and is not
    in the ambient air, but it may be inside the house, there is not a completed pathway from the sub-
    slab. Id. at 128:6-21.

     RESPONSE: Not disputed by Plaintiffs that Mr. Fineis testified as stated. Disputed that
     this fact is material to Textron’s motion, or to this case, which does require proof of a vapor
     intrusion pathway.

65. Fineis testified that he could not render an opinion to a reasonable degree of scientific or
    engineering certainty, of a completed pathway from the sub-slab to the indoor air for any home
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    in the Eastern Heights neighborhood. Id. at 201:23-202:4.

    RESPONSE: Disputed as misleading and incomplete. Mr. Fineis stated that as the
    subslab and indoor samples were not taken at the same time, he could not render an
    opinion as to a completed pathway at a given time. He did not testify that completed
    pathways do not exist, nor was he retained in this case to perform work to establish the
    existence of such pathways. Dkt. No. 599-6, pp. 198-200.

66. Fineis testified that he could not testify that the vapor intrusion pathway from groundwater is
    complete for Plaintiffs’ homes. Id. at 203:9-13.

    RESPONSE: Disputed as incomplete and misleading. Mr. Fineis testified that he could
    not opine on such a pathway because he did not do groundwater sampling, as neither
    groundwater sampling nor establishing exposure pathways were part of the work he was
    asked to perform. See Deposition of James Fineis, Dkt. No. 599-6, pp. 198-200.

 67. Fineis testified that he could not testify that there is a completed vapor intrusion pathway from
     Plaintiffs’ sub-slab gas. Id. at 203:20-204:6.

    RESPONSE: Disputed as incomplete and misleading. To the extent this proposed statement
    suggests Mr. Fineis could not opine that completed exposure pathways have been shown to exist
    through objective measurement, it is inaccurate and misleading. See Deposition of James Fineis,
    Dkt. No. 599-6, pp. 198-200.

68. Fineis testified that he could not render an opinion that the pathway was complete from the soil
    gas to the sub-slab of Plaintiffs’ homes. Id. at 184:14-25.

    RESPONSE: Disputed as incomplete and misleading. Mr. Fineis testified that because no
    soil gas samples were collected at the same time as the sub-slab samples at properties, he
    could not opine on a completed pathway. He did not testify that such pathways could not
    be proven, if the right testing were performed. See Deposition of James Fineis, Dkt. No. 599-
    6, pp. 198-200.

69. Fineis testified that he has done no source identification and could not testify that the Grenada
    manufacturing facility is the source of any subsurface contaminants or ambient air contamination
    that he detected during testing. Id. at 202:20-203:2.

    RESPONSE: Disputed as incomplete and misleading. Mr. Fineis testified that he did no
    source identification work, but noted that the contaminants he found in the Eastern
    Heights neighborhood were consistent with those confirmed by the EPA to be present on
    the Grenada Manufacturing site. See Deposition of James Fineis, Dkt. No. 599-6, pp. 198-
    200.




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IX.   Plaintiffs’ Use of Groundwater and Use of Their Properties

  70. Plaintiffs do not use the groundwater from beneath the Eastern Heights Neighborhood for water
      for drinking. Ex. 6 (All Plaintiffs’ Responses to RFA No. 14).

      RESPONSE: Not disputed by Plaintiffs.

  71. The City of Grenada supplies the homes in the Eastern Heights Neighborhood with what is
      commonly referred to as “tap water,” which Plaintiffs’ may use, if they so desire, for drinking,
      bathing, or washing clothing. Id. at RFA No. 15.

      RESPONSE: Not disputed by Plaintiffs, as to the availability of city water, though the
      city water supply in the area of Eastern Heights has been noted by a number of witnesses
      in this matter to be often discolored and malodorous.

  72. Plaintiff Odomes testified that everybody in the Eastern Heights neighborhood is on City water
      and nobody has well water. Ex. 35 (M. Odomes Dep. Tr. 134:10-13).

      RESPONSE: Plaintiffs do not dispute that Ms. Odemes testified that residents of Eastern
      Heights all had city water service to her knowledge.

  73. Plaintiff Phillips testified that she had no plans to move back to the Eastern Heights
      neighborhood and hasn’t had those plans for 20 years. Ex. 36 (B. Phillips Dep. Tr. 42:6-18).

      RESPONSE: Not disputed by Plaintiffs.

  74. Phillips testified none of her family members had any intention to live in her Eastern Heights
      house. Id. at 122:17-24.

      RESPONSE: Disputed as misleading. Ms. Phillips testified that she wasn’t aware of
      any family members that had an intention to move into the property in Eastern Heights.
      She did not testify that she knew, factually that no family member had such an intention.
      See text of cited testimony.

  75. Plaintiff Crumley testified that she has lived in Texas since 1986, and she has not lived in
      Mississippi since 1986. Ex. 37 (A. Crumley Dep. Tr. 8:9-11).

      RESPONSE: Not disputed by Plaintiffs.

  76. The EPA’s September 2016 Fact Sheet stated: “Based on all the results received to date, EPA has
      determined that there is no immediate threat to public health and EPA is not considering
      temporary or permanent relocation of any of the Eastern Heights neighborhood residents.” Ex.
      31 (Sept. 2016 EPA Fact Sheet #6 at 2).

      RESPONSE: Plaintiffs do not dispute that the 2016 EPA Fact Sheet contains the quoted
      language, but dispute that the offered statement is complete and submit that, out of
      context, it is misleading.


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X.       Emotional Distress

     77. One of Plaintiffs’ proffered experts, Michael Nicar, testified that did no work to quantify any
         exposure or dose for any of the individual plaintiffs in this case. Ex. 38 (M. Nicar Dep. Tr. at
         81:21-24).

         RESPONSE: Not disputed by Plaintiffs, as Mr. Nicar as not retained to perform such
         work or to make such calculations.

     78. Nicar testified that he did not perform a risk assessment for to any of the Plaintiffs in this case.
         Id. 64:12-14.

         RESPONSE: Not disputed by Plaintiffs, as Mr. Nicar as not retained to perform such
         work or to make such calculations.


XI.      Damages

     79. Plaintiffs’ proffered expert, Dixie Clay, stated in her expert report that the diminution in value of
         all Plaintiffs’ 49 properties amounts to $4,129,440, and the current value of Plaintiffs’ properties
         is $0. Ex. 39 (Clay Report at 3, 11).

         RESPONSE: Not disputed by Plaintiffs.

     80. Plaintiffs’ proffered expert, Howard Herring, stated in his expert report that the cost to replace
         Plaintiffs’ Eastern Heights homes with newly constructed homes in a new neighborhood and to
         relocate to those homes is $5,487,195. Ex. 40 (Herring Report at 3, 20)

         RESPONSE: Not disputed by Plaintiffs.

     81. Brinkman, Simonton and Jenkins stated in their expert report that the cost to remediate
         contamination in the Eastern Heights neighborhood would be approximately $143 million. Ex.
         19 (Groundwater Report at 19).

         RESPONSE: Not disputed by Plaintiffs.




        DATED this the 22nd day of May, 2018.




                                                        Respectfully submitted by,
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                                   CERTIFICATE OF SERVICE

        This is to certify that I, W. Lawrence Deas, served a true and correct copy of the above and

foregoing document on all counsel of record by transmitting the same via electronic mail and/or by

filing the same with the ECF system established by the Court, which sent a copy of the same to all

counsel of record.

        This the 22nd day of May, 2018.


                                                    /s/ W. Lawrence Deas
                                                    W. Lawrence Deas




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